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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                        CENTRAL DIVISION
                                           FRANKFORT

                                                    )
COMMONWEALTH OF KENTUCKY, et                        )
al.,                                                )
                                                    )         Civil No. 3:21-cv-00055-GFVT
          Plaintiffs,                               )
                                                    )
v.                                                  )                     ORDER
                                                    )
JOSEPH R. BIDEN, in his official capacity           )
as President of the United States, et al.,          )
                                                    )
          Defendants.
                                             *** *** *** ***

            This matter is before the Court on a joint Motion to Stay Proceedings. [R. 60.] The

     Court granted Plaintiffs’ motion for a preliminary injunction on November 30, 2021. [R. 50.]

     Defendants appealed that order, and it is currently pending before the Sixth Circuit.

            The Plaintiffs filed an amended complaint, and Defendants are currently obligated to

     respond by the end of January 7, 2022. [R. 60 at 1.] Therefore, the parties jointly ask that the

     Court stay further proceedings in this matter pending final resolution of the Defendants’ appeal

     to the Sixth Circuit of this Court’s order granting Plaintiffs’ preliminary injunction.

            Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

     follows:

        1. The parties’ joint Motion to Stay Proceedings [R. 60] is GRANTED; and

        2. Further proceedings in this matter are STAYED pending final resolution of Defendants’

            appeal from the Court’s order granting Plaintiffs’ motion for a preliminary injunction.

            This the 3d day of January, 2022.
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